         Case 9:18-cr-80109-RLR Document 14 Entered on FLSD Docket 05/11/2018 Page 1 of 4
    (Rev.03/2016)
           Y'
@                                 UNITED STATES DISTRICT COURT
                                  SO UTHERN DISTRICT OF FLORIDA

                             APPEAM NCE BOND:                           -       -




                                          C A SE N O .:18-8211-W M
U NITED STA TES OF A M ERICA :                                                      FILEO l
                                                                                          )y            0,C.
                  Plaintiff,
                                                           JA IL #: -

                                                                                      MAt 11 2218
JOH N JO SEPH O 'GM D Y
                                                                                       GTEVE:N M LARIMQRE
                   Defendant,                                                          cuEal
                                                                                           lu,dDls-r.cT.
                                                                                       s.
                                                                                        o.ofrfruk.-w.:B.
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1,theundersigneddefendantand lorwe,theundersignedsureties,jointlyand severally acknowledgethatweand
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              ntatives,'
                       ointly dseverally,areboundtopaytheUnitedStatesofAmerica,thesumof
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                                  STANDARD CONDITIONS OF BOND
Theconditionsofthisbond arethatthedefendant:

    1. Shall appear before this court and at such other places as the defendant may be required to appear, in
accordance w1t1: any and a11orders and directions relating to the defendant's appearance in tllis case,including
appearance forviolation ofa condition ofthe defendnnt'srelease asmay be ordered ornotified by thiscourtorany
otherUnited StatesDistrictCourttowhichthedefendantmaybeheldtonnswerorthecauselansferred. Thedefendnnt
isto abideby anyjudgmententered in such matterby surrenderingto serveany sentenceimposed and obeyingany
orderordirectioninconnectionw1t14suchjudm ent.Thisisacontinuingbond,includinganyproceedingonappealor
review,which shallremain in fullforceand efrectuntilsuchtim easthecourtshallorderotherwise.

    2. M ay notatany tim esforany reason whatever,leave the Southem DistrictofFlolida orotherDistrictto which
thecase may berem oved ortransferred afterheorshe hmsappeared in such Districtpursllantto theconditionsofthis
bond,withouttirstobY ningwrittenpermission from thecoult exceptthatadefendantorderedremovedortransferred
to anotherdistrictmay travelto thatdistrictasrequired forcourtappearancesand h'
                                                                              iaIpreparation upon written notice
to the Clerk ofthis courtorthe courtto which the case has been removed ortransferred.The Southem Districtof
Floridaconsistsofthefollowing counties:M onroe,M iami-Dade,Brow ard,Palm Beach,M artin,St.Lucie,Indian
River,O keechobee,and H ighlands.

        M ay notchangehisorherpresentaddressasrecorded onthisbond withoutpriorperm ission in writing from
the court.

    4. lsrequired to appearin courtatalltimesasrequired by noticegiven by thecourtoritsclerk totheaddress
onthisbond orin open courtortotheaddressaschangedby perm ission from thecourt.The defendantisrequired
to ascertain from the Clerk of Courtor defense counselthe tim e and place of a11scheduled proceedings on the
case.ln no eventm ay a defendantassum e thathis orhercase has been dism issed unless the courthas entered an
orderofdism issal.

    5. The defendantm ust cooperate w ith 1aw enforcem entofficers in the collection of a DN A sam ple if the
collection isrequired by 42 U .S.C .Section 14135a.

       6. Shallnotcom mitany actinviolation ofstateorfederallaws.
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                                                         DEFEND A N T: JO H N JO SEPH O 'G R A DY
                                                         CA SE N UM BER : 18-8211-W M
                                                                          PA G E TW O
                                   SPE CIAL C O N DITIO N S O F BO N D
ln addition to compliance with the previously stated conditions ofbond,the defendantm ustcom ply with the
specialconditions checked below :
 X a.Surrendera11passportsandtraveldocuments,ifany,tothePretrialServicesOfficeandnotobtainany
     '


              traveldocumentsduringthependencyofthecase; l/Q/cS -' (J S                                   0M.1 A@ >4 tL j
 X b.ReporttoPretrialServicesasf
     wee by telephone; c /
                               ollows:( asdirectedor. timels)awcc/cinpersonand. timels)>
                               C r 'X
         c.Submitto substanceabusetesting and/ortreatm ent;
         d.Refrain from excessive use ofalcohol,or any use ofa narcotic drug or othercontrolled substance,as
           defined in section 102 of the Controlled Substances Act(21U.S.C.j802),withouta prescription by a
           licensed m edicalpractitioner;
 X e.ParAticJo
            iateue
                innynalhealthassessmentand/ortreatment;>&o < :o > & &F * tn# YEFAY&DG
                    .t
                     ch
         f.Partlclpateand undergo a sex offense specificevaluation and treatment'
                                                                                ,
V gMaintainoractivelyseekfull-timeemployment;bE- onwr a 8k 8& EM & CM E d?
          .




W
      h.Maintainorbeginaneducationalprogram; m rlgt
                                                 A .c.
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 -i.Avoida1lcontactwitluviut'ms(2j'orwitnessestq theKimeschargwed-?exceptthroughcounsel;--êc'
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                                                         gage,      hecate,encumber,etc.,any property they own
              untilthebondisdischargew
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         and follow instm ctionsasoutlined in theagreementwaiverprovided to you by PretrialServices; W X W3
      n.HOMECONFINEMENTPROGRAM Thedefendantshallparticipateinoneofthefollowing                                Laome og .
              confinementprogram componentsand abideby al1therequirementsoftheprogram which ( )willnot
              or       w illinclude electronic m onitoring or other Iocation verification s stem ,paid for by the defendant
              bXaseduponhis/herabilitytopay( )orpaidforbyPretrialServices ).
                   curfew:
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                     ome etenhon: ou are resmcted to yourresi en atal1timesexceptfor:( )medica needsor
                   treatment,( )courtappearances,( )attorneyvisitsorcourtordered obligations.and
                   ( )other
      o.H A LFW A Y H O U SE PLA CEM EN T The defendant shall reside at a halfw ay house or com m unity
        correctionscenterand abideby al1therulesand regulationsoftheprogram .
              Youarerestrictedtothehalfwayhouseata11timesexceptfor:( )employment;( )education;
              ( )religiousservices;( )medical,substanceabuse,ormentalhealth treatment;( )attorney visits;
              ( )courtappearances;( )courtordered obligations;( ) reporting to PretrialServices;and
              ( )Other
 -    P.Ma ytraveltoandfrom: NY Y                              VU               ,andmustnotifyPretrialServicesoftravelplans
        before leaving and upon return.
 X q.Complywilhthefollowingadditionalconditionsofbond:
      U M t<& eb               *& *            N n X W /RC '*X YTANOAR L**D* % ,
              -G Duœe Afe M - ar &R H oe - 5 * n %.        l N öY       '            .                          ..
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                                                           DEFENDANT: JOHN JO SEPH O 'GRADY
                                                           C A SE N U M B ER :18-8211-W M
                                                                              PA G E TH R EE

                   PENALTIESAYD SANCTIONSAPPLICABLE TO DEFENDANT
       Violationofany oftheforegoing conditionsofrele%emay restzltintheimmediateissllanceofawarrantforthe
defendant'sarrestarevocationofrelease,anorderofdetention,asprovidedin 18U.S.C.53148,forfeittlreofanybail
posted,and aprosecution forcontemptasprovided in 18 U.S.C.j401,which could resultin a possible term of
hnprisonm entora fine.

        'Ihe com m ission of any offense w hile on pretrial relemse m ay result in an additional sentence upon
conviction forsuch offense toaterm ofimprisonmentofnotmorethan ten years,iftheoffenseisa felony;oraterm
ofimprisonmentofnotm ore th% one year,ifthe ofrense isa misdem eanor.This sentence shallbe consecutive to
any othersentenceandmustbeimposed in additiontothesentencereceived fortheofrenseitself

       Title 18 U.S.C.51503 makesita criminaloffenseplmishable by up to five yearsofimprisonmentand a
$250,000finetointimidateorattempttointimidateawitness,jtlrororoftkerofthecourt;18U.S.C.j1510makesit
a criminaloffense punishable by up to five years of imprisonment and a $250,000 fine to obstruct a cn'minal
investigation;18 U.S.C.51512 makesitacriminaloffenseplmishableby up to ten yearsofimprisonmentand a
$250,000 fine to tamperwith a witness,victim orintbrmant;and 18 U.S.C.j1513 makesitacriminaloflknse
plnishableby up to ten yearsofimprisonmentand a $250,000 fineto retaliateagainstawim ess,victim orinformant,
orthreaten to do so.

       ltisacriminalofrenseunder18U.S.C.j3146,ifaherhavingbeenreleased,thedefendantknowinglyfailsto
appearasrequired by theconditionsofrelease,orto surrenderfortheserviceofsentencepursuantto acourtorder.If
the defendantw msreleased in connection w ith a charge of,orw hile aw aiting sentence,surrenderforthe service ofa
sentence,orappealorcertiorariafterconviction for:

   (1)an offensepunishableby death,lifeimprisonment,orimprisonmentforaterm offifteen yearsormore
       thedefendantshallbe fined notm orethan $250,000orimprisoned fornotmorethan ten years,orboth;
   (2)an offensepunishableby imprisonmentforaterm offiveyearsormore,butlessthan fifteen years,the
       defendantshallbefined notm orethan $250,000orimprisoned fornotmore than fiveyears,orboth;
   (3)any otherfelony,thedefendantshallbefinednotmorethan $250,000 orimprisonednotmorethantwo
       years,orboth;
   (4)amisdemeanor,thedefendantshallbefined notmorethan $100,000 orimprisoned notmorethanone
       year,orboth.

        A term of im prisorlm entim posed for failure to appear or surrender shallbe consecutive to the sentence of
imprisonmentforany otheroffense.In addition,a failure to appearmay resultin the fodkiture ofany bailposted,
which m eansthatthe defendantwillbe obligated to pay the fullnm otm tofthe bond,which m ay be enforced by all
applicablelawsoftheUnited Sttes.
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                                                                               DEFENDANT: JOH N JOSEPH O 'GRADY
                                                                               C A SE NU M B ER :18-8211-W M
                                                                                                 PA G E FO UR
                            PENALTIES A ND SAN CTIO NS APPLICA BLE TO SU RETIES
Violation bythedefendantofanyoftheforegoingconditionsofreleasewillresultin an immediateobligation by thesurety orsureties
topaythefullamountofthebond.Forfeitureofthebond foranybreach ofoneormoreconditionsmaybedeclared byajudicial
officerofanyUnited StatesDistrictCourthavingcognizanceoftheaboveentitled matteratthetimeofsuchbreach,and ifthebondis
forfeitedandtheforfeiture isnotsetasideorremitted,judgmentmay beenteredupon motion in suchUnited StatesDistrictCourt
againsteachsuretyjointlyandseverallyfortheamountofthebond,togetherwithinterestandcosts,andexecutionmaybeissuedand
paymentsecured asprovidedby theFederalRulesofCriminalProcedureand otherlawsoftheUnited States.
                                                       SIG NA TU RES
lhavecarefully readand lunderstand thisentireappearancebond consistingoffourpages,orithasbeenrcadto me,and,ifnecessary,
translated into my native language,and 1know thatIam obligated by law to comply with allofthetermsofthisbond.lpromiseto
obey allconditionsofthisbond,to appearincourtasrequired,andto surrenderforserviceofany sentenceimposed.Iam awarcofthe
penaltiesandsanctionsoutlined in thisbond forviolationsoftheterm softhebond.
lfIam an agentacting fororon behalfofacorporate surety,Ifurtherrepresentthatlam a duly authorized agentforthecorporate
suretyandhavefullpowerto executethisbond in theamountstated.

 N O TE :Page 5 ofthisform M U ST be com pleted before the bond w illbe accepted for filing.
             l lY H                                                  DEFENDANT
Signd this              dayof M ay                           ,20 18 at w estpalm Beach            ,irl id
Si& edandacknowledgcdbeforeme:                                            DEFENDANI'
                                                                                   :(S' ature) ,

                           W itness                                                      City                                State

                                                              CO RPO R ATE SUR ETY
Signedthis              dayof                                ,20       at                         ,Florida
SURE'I'Y:                                                                   AGENT:(Signature)
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PRINT NAM E:                                                                PRN   NAM E:
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